     Case 8:15-cr-00063-JLS Document 59 Filed 10/23/15 Page 1 of 6 Page ID #:303



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 9                          UNITED STATES DISTRICT COURT

10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,               No.   SA CR 15-63(A)-JLS

12             Plaintiff,                    GOVERNMENT’S SUPPLEMENTAL BRIEFING
                                             OPPOSING DEFENDANT’S MOTION TO
13                   v.                      COMPEL DISCOVERY

14   TODD CHRISTIAN HARTMAN,                 MOTION HEARING:     10/27/2015
                                                                 9:00 a.m.
15             Defendant.                    ESTIMATE:           30 minutes

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17        The government files a supplement to its opposition to
18   defendant’s motion to compel discovery pursuant to Federal Rule of
19   Criminal Procedure 16.
20   Dated: October 23, 2015             Respectfully submitted,
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                                            /s/
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     Case 8:15-cr-00063-JLS Document 59 Filed 10/23/15 Page 2 of 6 Page ID #:304



 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         On September 18, 2015, defendant Todd Christian Hartman

 4   (“defendant”) filed a motion to compel extensive discovery relating

 5   to Peer Spectre, including its specifications and a copy of the

 6   software itself.     On September 24, 2015, the government filed it

 7   opposition.   On October 2, 2015, defendant filed a reply brief and on

 8   October 8, 2015, defendant supplemented its reply with a declaration

 9   from Tami L. Loehrs.     On October 16, 2015, the Court continued the

10   motions hearing to October 27, 2015, in part, to provide the

11   government with an opportunity to submit a written response to Ms.

12   Loehrs’ declaration.

13   II.   STATEMENT OF FACTS
14         In her declaration, Ms. Loehrs raises three substantive points

15   concerning the investigation in this matter.         First, she states that

16   Det. Syvock did not identify what software or tools he used to

17   download the files in this case.       (Loehrs’ Decl. at ¶¶ 6-8.)       Second,

18   Ms. Loehrs claims several cases “have brought to light serious

19   concerns with regard to the CPS [Child Protection System] software

20   and whether that software is going beyond the scope of ‘publicly

21   available’ information.”     (Loehrs’ Decl. at ¶ 9.)       Third, she states

22   that, to her knowledge, CPS software has never been formally tested

23   and/or validated by anyone and is unavailable for testing by any

24   third-parties.   (Id.)

25         The affidavit in support of the search warrant sets forth the

26   methods Det. Syvock used to locate and download the child pornography

27   images and identify defendant as a suspect.         See Exhibit A, Search

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     Case 8:15-cr-00063-JLS Document 59 Filed 10/23/15 Page 3 of 6 Page ID #:305



 1   warrant and affidavit (personal identifying information redacted).

 2   While the search warrant did not identify the specific software used

 3   to download the child pornography images, the government has since

 4   provided the defense with reports and logs automatically generated by

 5   the law enforcement software, Shareaza LE, detailing how the files

 6   containing child pornography were downloaded from the computer

 7   located in defendant’s residence.       See Exhibit B, Discovery letters

 8   and select reports and logs.1

 9   III. ARGUMENT
10        As the government set forth in its opposition to defendant’s

11   motion to compel, defendant is not entitled to the requested

12   materials because A) the requested materials are protected by a

13   qualified law enforcement privilege; B) he has not established that

14   the requested information is material to his defense; and C) his

15   request is overbroad.     The government has complied, and will continue

16   to comply, with its discovery obligations and defendant’s motion

17   should be denied.

18        A.   Identification of Software and Tools

19        In her declaration, Ms. Loehrs claims that Det. Syvock did not

20   identify the software or tools he used to download the files

21   containing child pornography.      (Loehrs’ Decl. at ¶¶ 6-8.)       The

22   government, through disclosing the search warrant affidavit and the

23   Shareaza LE reports and logs, has identified the pertinent software

24   and tools and data detailed how the child pornography files were

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26          In defendant’s reply brief, he raised the issue that some of
     the logs files appeared to be blank. This issue has been resolved.
27   On October 15, 2015, the government produced a compact disc
     containing the files. See Exhibit B.
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     Case 8:15-cr-00063-JLS Document 59 Filed 10/23/15 Page 4 of 6 Page ID #:306



 1   downloaded.   See Exhibits A and B.        As to this broad request, the

 2   government has complied with Ms. Loehrs’ claim of purported

 3   deficiency.   If the defense wants additional general information

 4   about how these programs function, the government is willing to

 5   review and respond to such a request.

 6        B.    There is an Insufficient Basis for Ms. Loehrs’ Claim that
                Software Goes Beyond Publicly Available Information
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 8        In her declaration, Ms. Loehrs cites two cases in support of her

 9   claim that cases “have brought to light serious concerns with regard

10   to the CPS [Child Protection System] software and whether that

11   software is going beyond the scope of ‘publicly available’

12   information.”   (Loehrs’ Decl. at ¶ 9.)       Neither case supports this

13   proposition given the facts of this case.        In United States v. Crowe,

14   11-CR-1690, (D. NM), Ms. Loehrs testified that, based on her review,

15   the two images that were allegedly found by the Shareaza program were

16   not in the shared folder and there was no evidence of them being

17   shared in the past.    (Exhibit C., pp. 16-20.)       Based on this

18   testimony, the district court found that the case was similar to

19   United States v. Budziak, 697 F.3d 1105 (9th Cir. 2012), where the

20   Ninth Circuit was concerned that the FBI downloaded fragments of the

21   child pornography files from an “incomplete” folder.          (Exhibit D, pp.

22   12-13.)   Here, Ms. Loehrs’ claims are more limited to allegations

23   that four of the files identified during the undercover investigation

24   were not included in a list of “publicly available” files and the

25   remaining two files were “publicly available” but had not been shared

26   since May 2014.    (Loehrs’ Decl. at ¶ 9.)      She fails to identify this

27   purposed list of “publicly available” files, which downloaded files

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     Case 8:15-cr-00063-JLS Document 59 Filed 10/23/15 Page 5 of 6 Page ID #:307



 1   fall into which category or how she came to the conclusion that the

 2   last download occurred in May 2014.        Without more information, it is

 3   extremely difficult for the government to address these claims.               Ms.

 4   Loehrs has made similar allegations in other cases with at least one

 5   court finding “[o]n balance, Ms. Loehrs provided little, if any,

 6   credible or reliable testimony to support her opinions in this case.”

 7   See. Exhibit E, pp. 16-22; United States v. Derek Thomas, et al.,

 8   5:12-CR-37, 5:12-CR-44, 5:12-CR-97, (D. VT., Nov. 8, 2013).            The

 9   government will more fully develop this point during cross-

10   examination of Ms. Loehrs.

11           Ms. Loehrs also relies on United States v. Angel Ocasio, EP-11-

12   CR-2728-KC-1 (WDTX.), for the proposition that courts have expressed

13   concern about how the software used by law enforcement works.

14   Defendant Ocasio’s Motion to Compel Production of Materials

15   Pertaining to Peer-to-Peer Investigative Software (docket #117) sets

16   forth facts that are critically different from the facts in this

17   case.    See Exhibit F, pp. 1-2.    In Ocasio, the investigators did not

18   download the child pornography images from the defendant’s computer,

19   rather the probable cause for the search warrant was based on a

20   comparison of SHA-1 hash values, and none of the files identified by

21   the software were found on defendant Ocasio’s computer once it was

22   searched.    Id.   Here, as set forth in the search warrant affidavit,

23   Det. Syvock downloaded the files and they were ultimately found on

24   defendant’s computer.     See Exhibit A, pp. 13-16.       Therefore, there is

25   no reason to suspect that the software used by law enforcement was

26   defective.    Furthermore, Ms. Loehrs’ conclusory claims regarding the

27   Peer Block software lack support, including specific information

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     Case 8:15-cr-00063-JLS Document 59 Filed 10/23/15 Page 6 of 6 Page ID #:308



 1   about how this software purportedly interacted with the peer-to-peer

 2   file sharing program at the time the child pornography files were

 3   downloaded by Det. Syvock.      Without more information, this claim

 4   should not be a basis for granting the motion to compel.

 5         C.    Testing of Software

 6         Ms. Loehrs claims in her declaration that, to her knowledge, CPS

 7   software has never been formally tested and/or validated by anyone

 8   and is unavailable for testing by any third parties.          (Loehrs’ Decl.

 9   at ¶ 9.)    Here, it was Shareaza LE, not CPS, which was responsible

10   for downloading the child pornography files from defendant’s

11   computer.   See Exhibit B.    In 2012, Ms. Loehrs acknowledged in sworn

12   testimony that she had heard testimony that Shareaza LE has been beta

13   tested.    See Exhibit C, p. 33.

14   IV.   CONCLUSION
15         For the reasons set forth in the government’s briefing and the

16   anticipated testimony at the evidentiary hearing, defendant’s motion

17   to compel should be denied.

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